Case 1:05-cr-10005-.]DT Document 27 Filed 04/22/05 Page 1 of 2 Page|D 25

IN THE: UNITED STATES DISTRICT COURT ’?(’<~
FOR THE wEsTERN DISTRICT oF TE:NNESSEE 639 @(9/
EASTERN DIVISION ,_ 433 CD/
/v.'\/"l'<§'E./`. ca \
UNITED sTATEs oF AMERICA r//"/\\/;-’>»,#:~/g;~ ,o §
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.. » /§> 9
vs Criminal No. l:O§-lOU@§§Si§T
@5}*

ROLAND W. HAYER

ORDER CONTINUING TRIAL DATE AN'D SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT

The trial date of May 2, 2005, is continued by the Court,
due to the unavailability of the defendant for medical reasons. The
ends of justice served by taking such action outweigh the best
interest of the public and the defendant in a speedy trial.

The Clerk shall reset the REPORT DATE/MOTION HEARING for
MONDAY, JUNE 20, 2005 and the TRIAL for TUESDAYl JULY 5l 2005l
at 9:30 A.M. The Court finds that the grounds for this continuance
justified excluding the period of May 2, 2005 to July 5,
2005, as excludable delay under Title 18 U.S.C. §3161 (h)(3)(A)
and (h)(B)(A).

IT IS SO ORDERED.

JWZ)~Q¢M\

D. TODD
UNI ED S'I'ATES DISTRICT JUDGE

DATE= Q<Q QrQ/M.L ¢QM’

Thls document entered on the docket sheet ln compliance
w'nh nme ss and/or az(b) Fnch on 'JS '

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 27 in
case 1:05-CR-10005 Was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

